Case 1:20-cv-02205-MKB-JRC Document 126 Filed 03/14/23 Page 1 of 2 PageID #: 2035




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  IN THE UNITED STATES DISTRICT COURT
  FOR THE EASTERN DISTRICT OF NEW YORK


   GROUP ONE LTD.

                                        Plaintiff,

                         v.                                  1:20-cv-02205-MKB-JRC

   GTE GmbH and RALF WEIGEL,

                                    Defendants.



                          NOTICE OF PLAINTIFF GROUP ONE’S
                      MOTION TO MODIFY PERMANENT INJUNCTION

          PLEASE TAKE NOTICE that based upon the accompanying Memorandum of Law, the

  Declaration of Joshua A. Davis, and all of the other relevant papers and pleadings on file with the

  Court in this matter, Plaintiff Group One Ltd., by and through its attorneys, will move this Court on a

  date to be determined, before The Honorable Margo K. Brodie, United States District Judge, at the

  United States Courthouse at 225 Cadman Plaza East, Courtroom 6F, Brooklyn, NY 11201, for an

  order granting a modification of the permanent injunction (Dkt. 116) and granting such other and

  further relief as this Court may deem just and proper. The grounds for this motion are set forth in

  Group One’s Memorandum of Law, submitted herewith.
Case 1:20-cv-02205-MKB-JRC Document 126 Filed 03/14/23 Page 2 of 2 PageID #: 2036



   March 14, 2023                        Respectfully submitted,




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